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UNITED STA?ES DISTRICT Co ute "`

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Seuthern Distiictoflllinois ~'*:-'1'-"-"

g< 3 \ wci 19 O\

(lerl< s Off'ice will provide)

Hosam Maher Smadi

 

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[f] CIVIL RIGHTS COl\/H>LAINT
pursuant to 42 U.S.C. §1983 (State Frisoner)
el CIVIL RIGHTS coI\/JPLAINT
pursuant to 28 U.S.C. §133'1 (Federal Prisoner)

E.ICIVIL COMPLAINT
pursuant to the Federni-'Fort-€-hrims' cht,
Z‘B' H:S.'€._§§B¢ié,'§§'i"‘l=?é&f),_or 0 ther law
42 USC §2000bb Religious Freedom
Restoration Act

Plrz:`nfz]j][)etitianer(s)
- v.
William True

T.C. Brown

 

 

Gary Burgess

Kathv Hill

S BYI am Defendnmf/Respondent(s)
J Michaelis

‘-._/\_/W\_-¢\_/\_/\._,J -_/\_/\__/

l. ]URISDICTION

 

 

 

IHaintMI:
A. Plaintiff’ s mailing address, register number and present place of
confinement
Hosam Smadi #39482~177
USP-Marion
PO B ex 1 000
Marion, IL 62959 3
Defendant #'l: !
B. Defendant Wi l l i am T rue is employed as
(a) (Name of First Defendant)
Warden
(b) (Position/'I`itle)
Whh USP-Marion PO BOX 1000 Marion, IL 62959
(c) (Employer's Name and Acldress)

 

At the time the claim(s ) alleged this complaint arose, Was Defendant #1
employed by the state, local, or federal government? § Yes U No

ll your answer is YES, briefly explai_n:

William True is an employee of the Bureau of Prison ("BOP")

{R.;v. 7/ 2010) 1

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Defendan't #2:

C, Defendant T-C- Br°“m is employed as

(Name of Second Defendant)

Intelligence Analyst
(Position/Tirle)

 

with Bureau of Prison Morgantown, WV
(Employer's Name and Address]

 

At the time the claim(s) alleged in this complaint arose, Was Defenda.nt #2
employed by the state, local, or federal government? d Yes Cl No

If you answer is YES, briefly explai.n:

T.C.Brown is an employee of the BOP.

Additional Defenda.nt(s) (if any):

D. Using the outline set forth above, identify any additional Defendant(s).

Gary Bur esa -- Case Manager,_USP-Marion

Kathy Hi§l -- Intelligence Researeh Analyst, USP-Marion
5 Byram -- Unit Manager, USP-Marion

J Michaelis -- Food Services Manager, USP-Marion

I\J

(Rev. 7/ 2010}

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II. PR EVIOUS LAWS UITS

A.

{Rev. 7/ 2010)

l-Iave you begun any other lawsuits in state or federal court relating to
your imprisonment? l§| Yes Cl No

Ir' your answer to ”A" is YES, describe each lawsuit in the space below. If
there is more than one lawsuit you must describe the additional lawsuits
on another sheet of paper using the same outline Failure to comply with

gus lr_)rovisign may result in summary dem`_al of your comolaint.

1.

Pa.rties to previous lawsuits:
Plai.ntl.ff(s):
as attached

Defendant(s):

as attached

Court (if federal court name of the district; if state court name of
the county):

as attached

Docket number:
as attached

Na.me of judge to whom case was assigned:

as attached
Type of case (for example: Was it a habeas corpus or civil rights
action?):

as attached (criminal/habeas)

Disposition of case (for example: Was the case dismissed? Was it
appealed? ls it still pending?):
as attached

Appro)d.mate date of filing lawsuit
as attached

Approx:imate date of dispositions
as attached

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LITIGATION HISTORY

Sep 2009:

Apr

Aug

Sep

Sep

Sep

Oct

2018:

2018:

2018:

2018:

2018:

2018:

United States v Smadi ND Tx 09-cr-294-M(01]

* lcriminal case alleging attempted use of a weapon of mass
destruction

* convicted, sentenced to 24 years imprisonment

* appeal dismissed Oct 21, 2011 United States v Smadi &46

 

F Appx 679 (5th Cir 2011) (per curiam)

* 28 USC §2255 denied May 16, 2013. Smadi v United States
ND Tx 12-cv-4154-M-BK

* multiple 60(b) motions

* leave to file secondfsuccessive 28 USC §2255 denied

2017 Smadi v United States 17-cv-0221-M-BK

Smadi v True SD Ill 18-cv-555-DRH

* pending non-frivolous 28 USC §2241 action

Smadi v True SD Ill 18-cv-01462-SMY

* pending non-frivolous 28 USC §22&1 action

Smadi v True SD Ill 18-cv-01507-SMY

* pending non-frivolous 28 USC §2241 action

Smadi v True SD Ill l&-cv-Ol§é?-SMY

* pending non-frivolous 28 USC §22&1 action

Smadi v True SD Ill lB-cv-l?OZ-MJR

* pending non-frivolous 28 USC §22&1 action

Smadi v True SD Ill lB-cv-lQBS-NJR

* pending non-frivolous 28 USC §22&1 action

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IIl, GRIEVANCE PROCEDURE

A.

B.

I-I.

(Rev. 7/ 2010)

Is there a prisoner grievance procedure in the institution? fl Yes Cl No

Did you present the facts relating to your complaint in the prisoner
grievance procedure? Kl Yes |J No

lf your answer is YES,
l. What steps did you tal<e?

exhausted all available remedy through BP-ll for each claim.

2. What was the result?

denied

l.f your answer is NO, explain why not

n/'a

lt there is no prisoner grievance procedure in the institulion, did you

complain to prison authorities? Cl Yes |J No
n / a

]'_f your answer is_YES,

1. What steps did you take?

n/a

2. What was the result?

n/a

]'_f your answer is NO, explain why not
n / a

Attach copies of your request for an administrative remedy and any
response you received. lf you cannot do so, explain why not:

as attached

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Administrative Remedy No. 909636-A1
Part B - Response

This is in response to your Central Office Administrative Remedy
Appeal where you raise issues regarding what constitutes special
mail in the Communications Management Unit (CMU) at USP Marion.
You believe staff are violating diplomatic and international law
by treating mail to an Embassy as general correspondence. You
request incoming/outgoing Embassy mail be afforded special mail
privileges.

The Warden and Regional Director adequately addressed your
complaint and we concur with the responses provided. You have
been advised of what constitutes special mail in the CMU at USP
Marion. All other mail is treated as general correspondence and
there is no evidence this practice violates any applicable laws.
Safety and security is paramount and we find USP Marion is in
compliance with Bureau policy regarding this matter.

Accordingly, your appeal is denied.

 

 

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Date Ian”Connors, Administrator

National Inmate Appeals gha
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Administrative Remedy No. 926216-A1
Part B - Response

This is in response to your Central OEfice Administrative Remedy
Appeal where you claim your electronic correspondence was
improperly rejected at USP Marion. You argue your emails do not
advocate violence and believe you are being discriminated
against because you are Sunni Muslim. You request your emails
be sent out.

The Warden and Regional Director adequately addressed your
complaint regarding the processing and monitoring of your
electronic correspondence. Staff's actions regarding this
matter were consistent with Bureau policy and we concur with the
responses you were provided. Safety and security is paramount
and your claim of discrimination is not supported.

Accordingly, your appeal is denied.

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Date lan Connors, Administrator
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Ad.ministrative Ramedy No. 933831-Al
Part B - Response

This is in response to your Central Office Administrative Remedy
Appeal where you claim staff in the Communications Management
Unit (CMU} at USP Marion refused to mail out your package. You
state you were not mailing out hobby craft items and other
inmates have mailed out similar materials. You believe your
Constitutional rights are being violated and request the
materials be mailed out of the institution.

The Warden and Regional Director adequately addressed your
complaint and we concur with the responses provided. You have
been advised of the current policy in regards to hobby craft
items made by inmates housed in the CMU. In addition, your
specific allegation of staff misconduct was referred to the
appropriate authority for review. A thorough review will be
conducted and proper action taken as deemed necessary.

This response is provided for informational purposes.

 

 

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Date Ian Cdnnors, Administrator

National Inmate Appeals£dnp

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Administrative Remedy No. 929654-A1
Part B - Response

This is in response to your Central Office Administrative Remedy
Appeal in which you contend staff failed to follow policy with regard
to your correspondence restrictions. Specifically, you.claim staff
violated your rights by rejecting your outgoing mail and you also
claim the outgoing'mail rejection limited your access to the courts.
For relief, you request staff adhere to policy requirements when
handling your mail.

We have reviewed documentation relevant to your appeal and, based
on the information gathered, concur with the manner in which the
Warden and Regional Director addressed your concerns at the time of
your Request for Administrative Remedy and subsequent appeal.
Program Statement 526 5 . 14, Correspondence, provides that “The Warden
shall establish and exercise controls to protect individuals, and
the security, discipline, and good order of the institution.”
Staff determinations regarding this matter are both in the scope of
policy and demonstrate a reasonable exercise of sound correctional
judgment which is believed to be in the best interests of the
correctional environment. We concur with that assessment.

Accordingly, this response is for informational purposes only.

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Date Ian Connors} Administrato
National Inmate Appeals §§

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Administrative Remedy Number 936164-A1
Part B - Response

This is in response to your Central Office Administrative Remedy
Appeal wherein you claim your outgoing mail was improperly rejected
and seized. For relief you request the mail be returned to allow
for mailinq.

We have reviewed documentation relevant to your appeal and, based
on the information gathered, concur with the manner in which the
Warden and Regional Director addressed your concerns at the time of
your Request for Administrative Remedy'and subsequent appeal. Staff
actions in this matter are consistent with the requirements of
Program Statements 5800.16, Mail Management Manual, 5265.14,
Correspondence and 5214.02, Communications Management Units. You
provide no new information that had not been considered at the lower
levels that would compel us to reverse those decisions.

 

Accordinqu, your appeal is denied.

 

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Date Ian Codnors, Administrator

National Inmate Appeals £Q;é;}

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Administrative Remedy No. 936162-A1
Part B - Response

This is in response to your Central Office Administrative Remedy
Appeal where you challenge your continued placement in the
Communication Management Unit (CMUJ at USP|Warion. You contend your
CMU placement is not to monitor your communications but meant to
target, harass and discriminate against you in violation of your
Constitutional rights. You allege an abuse of policy and request
transfer to an FCI.

A review of your appeal reveals you were initially approved for
transfer to a CMU in December 2010, and in September 2015, it was
determined you should be transferred to the CMU at USP Marion. The
warden and Regional Director adequately addressed your complaint
and correctly advised you of the basis for your continued placement
in the CMU program. We concur that your CMU placement remains
appropriate as yotlcontinue to require heightened:nonitoring. Staff
will continue to monitor and periodically review your case for
appropriate placement at your scheduled program reviews.

In addition, you are afforded the ability to appeal any decisions
related to your housing, designation and classification status
through the administrative remedy program. we find staff has
exercised sound correctional judgment in this matter and there is
no evidence you are being targeted, discriminated against or
harassed. Your claim that your Constitutional rights have been
violated is without merit.

Accordingly, your appeal is denied.

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Date Ian“dohnors, Administrator
National Inmate Appea]stwé

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Administrative Remedy No. 946613~A1
Part B v Response

This is in response to your Central Office Administrative Remedy
Appeal wherein you claim your constitutional rights are being
violated in the Communications Management Unit because the
amount of phone calls and length of the phone calls are limited.
For relief, you request additional phone time per week and the
opportunity to communicate with your family.

We have reviewed documentation relevant to your appeal and,
based on the information gathered, concur with the manner in
which the Warden and Regional Director addressed your concerns
at the time of your Request for Administrative Remedy and
subsequent appeal. Staff determinations in this matter are
consistent with the requirements of Program Statement 5214.02,
Communications Management Unit).

Accordingly, your appeal is denied.

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Date Ian”@onnors, Administrato¢
National Inmate Appeals X`

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Administrative Remedy No. 932791-A1
Part B - Response

This is in response to your Central Office Administrative Remedy
Appeal where you claim USP Marion violated your rights by
blocking a contact. For relief, you request that your contact
be restored and the violation of your rights to cease.

Our review of your appeal reveals that the Warden and Regional
Director adequately addressed your issue at the time of your
lower-level grievances and we concur with the responses
provided. Your contact was blocked because information they
provided could not be verified. We find that this demonstrates
sound correctional judgement and not staff misconduct.

Accordingly, your appeal is denied.

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Date Ian Connors, Administrator
National Inmate Appeals%

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Administrative Remedy No. 93792l-Al
Part B ~ Response

This is in response to your Central Office Administrative Remedy
Appeal wherein you request the Food Service Department at

USP Marion accommodate your religious dietary needs as a Muslim
by providing you with certified Halal food items.

We have reviewed the documentation related to your appeal.
Based on this review, we concur with the manner in which the
Warden and Regional Director addressed your concerns. Program
Statement 5360.09, Religious Beliefs and Practices, section 18,
part a, states: “The Bureau provides inmates requesting a
religious diet reasonable and equitable opportunity to observe
their religious dietary practice within the constraints of
budget limitations and the security and orderly running of the
institution and the Bureau through a religious diet menu.” The
religiously certified meals, in conjunction with the no-flesh
menu, currently being served are adequate and afford inmates a
reasonable and equitable opportunity to meet their religious
dietary requirements.

We advise you that the Bureau of Prisons {BOP) is currently
evaluating the feasibility of providing certified Halal
prepackaged meals that meet the BOPs specifications. In the
interim, you may to continue to purchase any Halal items
available for inmate purchase in the Commissary. Additionally,
you are allowed to purchase Halal certified entrees through the
Bpecial Purpose Order (SPO} procedures as prescribed in Program
Statement 4500.12, “Trust Fund/Deposit Fund Manual”,

Chapter 3.3, part f (3).

Accordingly, this response is provided for informational
purposes only.

 

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Date Ian Connofs, Administrator /Z

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STATEMENT OF THE CLAIM

1) This is a complaint by a federal prisoner alleging violations of
US Const Amend I, and, the Religious Freedom Restoration Act, at
the United States Penitentiary (“USP") -~ Marion Communications

Management Unit ("CMU").

Parties, Jurisdiction, Venue

2) Hosam Smadi is a citizen of the nation of Jordan, and, a federal
inmate serving a 288-month sentence for attempted use of a weapon

of mass destruction in the CMU at USP-darien in Marion, Illinois.

3) william True is the Warden of USP-Marion, and, has the personal

authority to remedy each of the wrongs alleged herein.

4) [deleted -- intentionally blank]

5) T.C. Brown is an Intelligence Analyst ("IA") assigned to censoring

the communications, and, public contacts, of Smadi.

6) Gary Burgess is the Case Manager of the USP-Marion CMU.
7) Kathy Hill is the Intelligence Research Analyst, USP-Marion CMU. §
3) S Byram is the Unit Manager of the USP-Marion CMU.

9) J Michaelis is the Food Services Administrator at USP-Marion.

10) This Court has jurisdiction to declare the rights of the parties,

and. to enjoin the un-Constitutional use of executive authority,

pursuant to Marbury v Madison 5 US 137 (1803).

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13)

This Court has jurisdiction to impose nominal, compensatory, and,

punitive, damages on the Defendants pursuant to Bivens v Six Unknown

 

Named Agents Of The Federal Bureau Of Narcotics &03 US 377 (1971).

This Court has jurisdiction over the Religious Freedom Restoration

Act claims pursuant to 42 USC §ZOOObb.

All of the events alleged herein occurred at the USP-Marion CMU
within the Southern District of Illinois, giving this Court venue

pursuant to 28 USC §13&1(a).

Factual Background

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18)

In Janusry 2009, Smadi was an eighteen year old living in Dallas,

Texas, and, working as a cashier at a Shell gas station.

Smadi suffers from schizophrenia, which is a degenerative brain
disease that creates delusions, and, poor judgment, in its early
stages, usually in the late teens to early twenties, which become

full fledged psychosis in the mid-twenties to mid-thirties.

In January 2009, Smadi posted comments on an internet messageboard
expressing his disapproval of the mass murder of Palestinian civil-

ians by the "Israeli" Defense Forces during the Gaza conflict.

Unknown to Smadi at the time, the Federal Bureau of Investigation

("FBI“) was at that time monitoring internat messageboards as part
of their mission to protect "Israel" from any form of public crit-

icism.

Smadi‘s comments were noted, and, referred to the FBI's Dallas

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Joint Terrorism Task Foroe ("JTTF").

The Dallas JTTF identified Smadi, and. contacted him; soon after,
the FBI's Psychological and Behavioral Analysis Unit ("PBAU") det-
ermined that Smadi was severely mentally ill, likely not a threat,
not particularly religious, not tied to extremist groups, but,

particularly vulnerable to manipulation because of his mental ill-

ness, and. disability.

Using the information of para 19, supra, the Dallas JTTF decided to
manipulate Smadi into believing that he was part of an al-Qaeda

terror cell so that they could arrest Smadi, and, mislead the public
into believing that the FBI had stopped an imminent al-anda attack

on Dallas.

During the period January 2009 to September 2009, the FBI "groomed"
Smadi to make him believe that he was a "violent extremist"; when
Smadi refused to commit violent acts, the FBI, knowing that Smadi
was addicted to drugs, and, about to become homeless, promised
Smadi SlO0,000 cash, a BMW, a job, and, a personal meeting with
OSama bin Laden, if he would agree to drive a car approximately 100

yards, and, park it in the Fountainplace building in Dallas.

As a result of the extraordinary inducements of para 21, supra,
Smadi, intoxicated, and, in the delusional belief that he was some-

how exposing the CIA‘s role in 9-11, agreed to participate in the

plot of para 21, supra.

After completing the acts of para 21, supra, Smadi was arrested, and,
beaten. by the federal agents involved, who then put out a press re-
lease stating that Smadi was part of an al-Qaeda terror cell origin-

ating in Afghanistan, and. that they had narrowly averted an al-Qaeda
attack.
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Shortly after his arrest, Smadi wrote a letter to the Dallas Morn-
ing News stating that he was not part of an Afghan terror cell,

and, that the entire attack had been staged by the FBI.

Shortly after the letter of para 24. supra, was published, the US
Attorney's Office decided to offer Smadi a favorable plea to 0 to
30 years; Smadi was heavily pressured by defense counsel to accept
this deal so as to prevent the FBI from being embarassed by an ex-

posure of their plot at trial.

During the course of Smadi's legal proceeding, his case agent was
arrested for attempted murder as part of a love triangle involv-
ing the agent's wife, and. the Special Agent in Charge of the FBI's

Dallas Field Office.

Smadi eventually accepted a plea deal to 24 years, 288 months.

The facts of Smadi‘s case have caused some to question the legiti-
macy, and, ethics, of the FBI handing bombs to mentally ill Arab
men, and, then, claiming to have stopped "al-Qaeda" attacks, and,

these questions have been raised in national publications, and,

books like The Terror Factorz.

Smadi's Imprisonment

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Smadi was imprisoned at the CMU at the Federal Correctional Center

("FCC") -~ Terre Haute in Terre Haute, Indiana from January 2011

to September 2015.

Smadi’s placement in the CMUs is highly selective, as thousands of
BOP inmates qualify for CMU placement, but, under 100 actually re-

ceive such placement; further, Smadi's CNU placement is indefinite

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in duration.

Smadi was transferred to the USP-Marion CMU in September 2015.

One goal of the communications monitoring to which Smadi has been
subjected as part of the CMU program has been to prevent Smadi from
discussing the circumstances of his arrest; and, the actions of

the FBI, with the general public.

While housed at CMU~Terre Haute, to make it appear as if the FBI

had not framed a mentally ill Arab man for a fake terror plot, the
BOP psychology staff marked Smadi's schizophrenia as "resolved", re-
sulting in him being denied medication, and, receiving severe treat~
ment, including housing in the Special Housing Unit ("SHU"), and.

causing at least one suicide attempt.

While housed in the CMUs at both Terre Haute, and, Marion, Smadi

has been subjected to the following atypical conditions of confine-

ment:

a) visits, other than attorney visits, are "non-contact“;

b) visits must be conducted in English, live-monitored, and, record-
ed;

c) written correspondence is subject to copying, and, retention;

d) written correspondence is subject to arbitrary denials, including
’as complained of herein;

e) phone calls are recorded, said recordings are retained, and,
phone calls are limited in number to two per week;

f) additional restrictions may be placed upon communications without
notice;

g) despite policy to the contrary, limited access to educational op-
portunities, and, institutional programming, including psycholog-

ical programming;

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all such limitations being of indefinite duration.

353 From time to time during his placement at the USP-Marion CMU, and,
regardless of the actual facts of his case, Hill has referred to

Smadi as a "terrorist". and, a "war criminal".

Smadi's Religious Beliefs

36) Since his arrest, Smadi has developed deeply. and, sincerely; held

religious beliefs.

37) Smadi is a Sunni Muslim. and, adheres to the Salafi interpretation

of Islam.

38) Due to the beliefs of para 37, supra, Smadi is required to eat Halal
food, which is food restricted by. and, prepared in accordance with,

the Salafi interpretation of Islamic law.

39) § requirement of para 38, supra, `is that Smadi eat Halal meat, which
is meat prepared in accordance with the Salafi interpretation of

Islamic law.

40) Kosher food does not meet the requirements of para 38, supra, as it
is prepared in a manner inconsistent with Islamic law, and, contains

ingredients, like wine, which are prohibited by Islamic law.

41) iurther, the beliefs of pg£§ 3?-39, supra, require that Smadi not eat
food prepared in a container, including a microwave, that has been
used to cook pork, andfor, other forbidden ("haram") food, unless
said container be ritually purified in a manner not readily available

in a prison environment.

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Embassy Mail

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&5)

Blog

In December 2016, Smadi asked Burgess for leave to use the insti»
tutional legal mail system to mail a letter to the Jordanian amb»
assador at the Jordanian embassy in washington, DC, stating that
he wanted to discuss sensitive issues, including FBI misconduct

in his criminal case, and, BOP misconduct during his imprisonment.

Burgess, applying BOP Policy Statement ("PS") 5214.02, and, 28 CFR
§504.20&(b), refused to allow Smadi to use the institutional legal

mail system for the correspondance of para 42, supra.

As a result of the acts of para 43, supra, Smadi‘s legal mail was
read, scanned into an electronic format, and, copies of such were

retained, by Burgess, Hill, Brown, andjor, others unknown.

As a result of the acts of pg£p AB, Smadi was deterred from sending

mail to the Jordanian ambassador on the following occassions:

a) in January 201?, when he wished to write about FBI misconduct in
his prosecution;

b) in March of 201?, when he wished to write about a possible treaty
transfer to Jordan in lieu of deportation;

c) in November 2017, when Smadi wished to write about the possibil-
ity of bringing a legal action in Jordan regarding his continuing

detention in the United States.

46) Smadi maintains a blog at the website http:f!prisoninmates.comf-

profile/HosamAl-Smadi39&82_17?

47) As Smadi's family resides primarily in Jordan, and, Smadi cannot

afford international postage, and!or, phone calls, the blog of para

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46, supra, is a primary means by which Smadi communicates with

his family.

On December 6. 2017, Smadi sent the blog post attached as Exh A(a)

to Prison Innates Online, the company responsible for maintaining
the blog of para 46, supra, by both the BOP TRULINCs system, and,

postal mail, after having prepared it using the TRULINCs system.

Exh A(a) does not promote violence.

Shortly after the attempt of para hS, supra, Smadi was informed that
his TRULINCs communication (typically called an “email", though it

is not an actual email) had been "rejected" by Brown.

0n December 13, 2017, Smadi attempted to send the blog post of Exh
A(a) by postal mail to attorney Scott Fenstermaker of New York, NY,

with a request that Fenstermaker assist Smadi in bringing a civil

rights action over Brown's actions of para 50, supra.

On December 13, 2017, Hill, and, Burgessl refused to allow Smadi

to mail the letter of para 51, supra.

0n December lh, 2017, True gave Smadi Exh A(b), barring Smadi from

sending the postal mail of para &8, supra.

After December 1&, 2017, and, prior to January lB, 2017, Smadi at-
tempted to mail to Prison Inmates Online two envelopes containing
blog post for the blog of para 46, supra; specifically, Smadi at-

tempted to mail Exh B(a), a rewritten version of Exh A(a), and,

Exh B(b), a document which he also mailed to the United States Dis~

trict Court for the District of Texas, the original having been
released in discovery, and, being an email sent to Smadi by the FBI

in the course of the extraordinary inducments of para 21, supra.

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55) On January 18, and, 19, 2018, Smadi received from True Exh B(c), and
B(d), respectively, barring him from mailing the letters of para 54,

supra.

Collages

56) while in prison, Smadi often makes collages, of which Exh C(a) is an

exemplar.

57) On March 6, 2018, Smadi attempted to send five collages to Prison

Inmates 0nline, including Exh C(a), for posting upon the blog of para

£§, supra.

58) Hill, and, Burgess, refused to allow the colleges of para 57, supra,

to be mailed.

Interview Request

59] Prior to February 22, 2018, Smadi was contacted by a Marie-Pier Fri-
gon, who stated that she wished to interview Smadi about his case

in order to publish information about Smadi's case on the internet.

60) After receiving the communication of para 45, supra, Smadi submitted

for mailing a letter to Frigon.

61) On February 22. 2018, Smadi received Exh D(a) from True stating that
he could not communicate with Frigon because she did not have "re-
search privileges"; this was later modified on appeal to be because

her (already approved) address "could not be verified".

62) When Hill handed Smadi the notice of para 61, supra, she stated to
Smadi that "A decision has been made that because she asked about
your case, that the contact will be blocked, and, you are not allowed

to communicate with her.‘l

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Newspaper Articles

63) Prior to-March 20. 2018, Smadi attempted to mail to Prison Inmates
Online a copy of the book Muslim-Christian Dialogue, accompanied by
approximately three dozen newspaper articles taken from the Washing~
ton Post; Chicago Tribune, and, other national, general readership,

newspapers.

64) On March 20, 2018, Smadi received Exh E(a) from True, stating that
he could not mail out the material of para 63, supra, because said

material could “recruit and radicalize others, as well as incite

violence."

65) Smadi also received Exh E(b) from Hill stating that she had confisc-

ated the material of para 63, supra, as contraband.

CHU Placement

66) Prior to April 2. 2018, Smadi was notified by S Byram that he was
being maintained in the USP-Marion CNU as part of a decision made
by True, and, others unknown, and, that "this may be the result of

current offense behavior, or, other verified information.”

67) Smadi received no hearing, or. process, in regards to the determ-

ination of para 66, supra.

Halal Food

68) Prior to April 9, 2018, Smadi communicated with Michaelis, and, True,
notified them of his sincerely held religious beliefs of para 36-41,
supra, and, the related dietary requirements, and, asked them to make

a halal meal available to him.

69) Both Michaelis, and, True, stated that kosher meals were available,

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and, that they were not otherwise required to accomodate Smadi's

sincerely held religious beliefs.

70) The facts of para 2-69, supra, are hereby incorporated by reference.

71) Burgess violated US Const Amend I when he applied BOP PS 5214.02,
and, 28 CFR §SAO.ZO(b), to Smadi‘s mail to the Jordanian ambassador,
denying Smadi access to the institutional legal mail system as de-

scribed para 42»&5, supra.

72) The facts of para 2-69, supra, are hereby incorporated by reference.

73) Brown violated US Const Amend I when he refused to allow Smadi to
send out the TRULINCs communication because of its contents as de-

scribed para 50, supra.

74) The facts of para 2-69, supra, are hereby incorporated by reference.

75) Burgess, Hill, and, True, violated US Const Amend I when they refus-
ed to allow Smadi to use the institutional legal mail system to com-

municate with Fenstermaker as alleged para 51-52, supra.

?6) The facts of para 2~69, supra, are hereby incorporated by reference.

77) True violated US Const Amend I when he refused to allow Smadi to

send mail to Prison Inmates Online as alleged para 53-55, supra.

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78) The facts of para 2-69, supra, are hereby incorporated by reference.

79) Hill, and, Burgess, violated US Const Amend I when they_refused to

allow Smadi to mail his colleges to Prison Inmates Online as alleged

para 56-58, supra.

80) The facts of para 2-69, supra, are hereby incorporated by reference.

81) Hill, and, True, violated US Const Amend I when they refused to

allow Smadi to communicate by mail with Marie~Pier Frigon as

alleged para 59-62, supra.

82) The facts of para 2-69, supra, are hereby incorporated by reference.

83) Hill, and, True, violated US Const Amend I when the refused to
allow Smadi to mail Muslim-Christian Dialogue, and, various news-

paper articles, to Prison Inmates Online as alleged para 63-65,

supra.
84) The facts of para 2-69, supra, are hereby incorporated by reference.

85) Byram, True, and, others unknown, violated Smadi's US Const Amend V
right to Due Proces when they continued his placement in the USP-

Marion CMU without a hearing as described para 66-67, supra.

86) The facts of para 2"69, supra, are hereby incorporated by reference.

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87) Byram, True, and, others unknown, violated Smadi's US Const Amend I
rights when they maintained him in the CMU in retaliation for the

acts of speech alleged Counts One To Seven, supra.

88) The facts of para 2-69, supra, are hereby incorporated by reference.

89) Michaelis, and, True, violated Smadi's US Const Amend I rights when
they unreasonably burdened his free exercise of religion by refusing
to reasonably accomodate Smadi's need for halal meals, and, th Pro'
vide Smadi with a separate microwave in which to prepare such meals,

as alleged para 68-69, supra.
COUNT ELEVEN: VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION ACT
90) The facts of para.2-69, supra, are hereby incorporated by reference.

91) Michaelis, and, True, violated the Religious Freedom Restoration Act,
42 USC §2000bb, et seq, when they excessively burdened his religious
expression by refusing to provide halal meals and, to provide a
separate microwave in which to prepare such meals, as alleged pipe

68-69, supra.

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l certify to the best of my knowledge information and belief, that this complaint is infull `

prosser ron names

State exactly What you Want this couIt to do for you. lf you are a state or federal

prisoner and seek relief Which affects the fact or duration of your imprisonment (for
example illegal detention restoration of good time, expungement of records or

parole), you must file your claim on a habeas corpus form, pursuant to 28 U.S.C.

§§ 2241, 2254, or 2255. Copies of these forms are available from the clerk's office
Nominal, compensatory, and, punitive, damages, as well as
appropriate injunctive, and, declaratory, relief for each
count, as well as any other relief that the Court finds to

be appropriate, and, the costs, and, any reasonable attorney
fees associated with this action.

]URY DEMAND (checlc one box below)

The plainu'ff § does El does not request a trial by jury.

DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE ll

compliance With Rule ll(a) and `ll(b) of the Federal Rules of Civil Procedure The
undersigned also recognizes that failure to comply with Rule ll may result in sanctions

 

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gignegon: December l, 2018 (\J, 65“,,4 §/yqul/\

 

 

 

 

 

(date) Signature of Plaintiff
USP-Marion PO Box 1000 f Hosam Maher Smadi
Street Address Printed Namc
Marion, 11 62959 # 39e82-177
City, State, Zip Prisoner Registcr Nurnber

 

Signature of Attorncy (if any)

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(Rev. 7/ 2010)

 

